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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 20-62664-CIV-COHN/STRAUSS

 AMIR OHAYON,

       Plaintiff,

 vs.

 JP MORGAN CHASE BANK, N.A.,

      Defendant.
 __________________________________/



                                 ORDER CLOSING CASE

       THIS CAUSE is before the Court upon the Parties’ Joint Stipulation of Dismissal

 with Prejudice [DE 30] (“Stipulation”). The Court has reviewed the Stipulation and the

 record in this case, and is otherwise advised in the premises. Accordingly, it is

       ORDERED AND ADJUDGED that the Clerk of Court is directed to CLOSE this

 case and DENY any pending motions as MOOT.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 23rd day of September, 2021.




 Copies provided to counsel of record via CM/ECF.
